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DeNITTIS OSEFCHEN PRINCE, P.C.
Ross H. Schmierer, Esq.
525 Route 73 North, Suite 410
Marlton, New Jersey 08053
 (856) 797-9951
rschmierer@denittislaw.com
Attorneys for Plaintiff, and all others similarly situated

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

LALA SLOATMAN, individually and on
behalf of all others similarly situated,
                                                  Case No. 2:17-cv-11383-KM-CLW
                       Plaintiff,
v.

TRIAD MEDIA SOLUTIONS, INC. d/b/a
COMPARETOPSCHOOLS.COM, DOES 1
through 10, inclusive,

                       Defendants.




     PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION FOR SANCTIONS
           PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 11
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I.     Introduction

       “The use of Rule 11 as an additional tactic of intimidation and harassment has become part

of the so-called ‘hardball’ litigation techniques espoused by some firms and their clients. Those

practitioners are cautioned that they invite retribution from courts which are far from enchanted

with such abusive conduct. A court may impose sanctions on its own initiative when the Rule is

invoked for an improper purpose.” Gaiardo v. Ethyl Corp., 835 F.2d 479, 485 (3d Cir. 1987)

(citing Lieb v. Topstone Indus., Inc., 788 F.2d 151, 157 (3d Cir.1986)) (footnotes removed).

       In filing this Motion, Defendant TRIAD MEDIA SOLUTIONS, INC. d/b/a

COMPARETOPSCHOOLS.COM (“Defendant” or “Triad”) and its counsel Mark M. Tallmadge

have decided to engage in sharp litigation tactics for no clear purpose except to attempt to

wrongfully intimidate Plaintiff Lala Sloatman (“Plaintiff”) for having the gall to attempt to hold

Defendant to task for its illegal conduct. Defendant’s Motion is better characterized as an

insufficient Motion for Summary Judgment or a premature Motion to Strike Class Allegations.

However, Defendant has brazenly chosen to improperly file it instead as a Rule 11 Motion for

Sanctions in a lamentable attempt to intimidate Plaintiff.

       As an initial matter, Rule 11 is not an appropriate vehicle for resolving legal or factual

disputes. StrikeForce Techs., Inc. v. WhiteSky, Inc., 2013 WL 5574643, at *4 (D.N.J. Oct. 9,

2013). The standard under Rule 11 is significantly higher than a Motion for Summary Judgment

and requires that the claims be “patently unmeritorious or frivolous” and “unsupported by fact or

law.” Doering v. Union County Bd. Of Chosen Freeholders, 857 F.2d 191, 194 (3d. Cir. 1988).

On April 9, 2018, Plaintiff produced evidence in the form of verified responses to Defendant’s

Interrogatories stating that she does not recall ever visiting any educational website and providing




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consent. 1 Declaration of Thomas E. Wheeler (“Wheeler Decl.”) at ¶ 3 and Ex. A. Defendant has

not deposed Ms. Sloatman and has otherwise failed to introduce any evidence to conclusively

demonstrate Ms. Sloatman’s testimony is incorrect—because no such evidence exists.

       As to its Motion to Strike garbed as a Rule 11 Motion, Defendant seeks to strike Plaintiff’s

Class Allegations under a legal argument that it is unfeasible. First, Defendant’s misnamed Motion

to Strike is premature and considered improper in this Circuit.2 Second, while Plaintiff will save

the full arguments for Class Certification, cases exist that support Plaintiff’s Class Certification

theory. Third, Defendant chose to bring a Motion to Strike disguised as a Rule 11 Motion because

the deadline under Fed. R. Civ. P. 12(f)(2) has long since passed such that Defendant cannot bring

a Motion to Strike. By filing an answer on December 27, 2017, Defendant waived its right to do

so. Dkt. 6. It is unclear whether Defendant could even obtain a striking through Rule 11, but

regardless, this portion of Defendant’s Motion must be denied.

       Defendant’s procedurally improper Motion should be denied and Defendant and its counsel

Mark M. Tallmadge should be jointly sanctioned for invoking Rule 11 for an improper, strategic

purpose.

II.    Procedural Background

       Plaintiff filed her Class Action Complaint against Defendant on November 7, 2017. Dkt.

1. Defendant filed its answer on December 27, 2017. Dkt. 6. On February 14, 2018, the Parties

held their initial scheduling conference with Magistrate Judge Cathy L. Waldor and set dates for

discovery and motions in the matter. Dkt. 9. Plaintiff served discovery requests on Defendant on


1
  Despite having this evidence and not having conclusive evidence that Ms. Sloatman is
incorrect, Defendant decided to file its Motion for Sanctions twenty-one (21) days later.
2
 Defendant has also refused to produce any responsive documents at this point, further
highlighting why Courts in this Circuit do not permit premature Motions to Strike Class
Allegations as to do so would deny Plaintiff necessary discovery.


                                                 2
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March 7, 2018. Wheeler Decl. at ¶ 4. Defendant served responses on April 6, 2018 which included

no documents. Id. at ¶ 5 and Exs. B-D. In accordance with this Court’s local rules, Plaintiff is

meeting and conferring with Defendant about its deficient responses at this time prior to making a

motion to compel. Id. at ¶ 6. On April 9, 2018, Plaintiff served her responses to Defendant’s First

Set of Interrogatories. Id. at ¶ 3 and Ex. A. On April 27, 2018, Defendant filed its “Motion for

Sanctions Pursuant to Federal Rule of Civil Procedure 11.” Dkt. 15.

III.   Factual Background

       Plaintiff Lala Sloatman, individually and on behalf of all others similarly situated, brought

a lawsuit against Defendant Triad Media Solutions, Inc. d/b/a CompareTopSchools.com arising

out of its practice of placing solicitation calls with an automatic telephone dialing system to

consumers. Complaint, Dkt. 1, at ¶¶ 1, 21, 22, 28, 31, 37-52. It is an uncontested fact that

Defendant called Plaintiff at 310-666-0838 at least twice for solicitation purposes on or about

September 2016. Wheeler Decl. at Ex. A at ¶ 7; Ex. B at ¶¶ 3-4. It is also uncontested that Plaintiff

owns 310-666-0838 and that it has been registered on the National Do Not Call Registry since

April 20, 2011. Wheeler Decl. at Ex. A at ¶ 6; Affidavit of Lala Sloatman (“Sloatman Aff.”) at ¶¶

2-3. Defendant has also not contested that the calls were made with an “automatic telephone

dialing system” as defined by the Telephone Consumer Protect Act, 47 U.S.C. § 227 et. seq.

       The only fact which Defendant contests is that it did not have prior express consent to call

her. Yet, Defendant puts forth a woefully lacking declaration of an unidentified individual who

lacks a basis for the assertions he makes which Plaintiff will substantially discuss. Plaintiff never

visited “CompareTopSchools.com” prior to receiving the harassing telemarketing call from

Defendant and has never provided her information in any form on CompareTopSchools.com at

any time. Wheeler Decl. at Ex. A ¶¶ 1-3, Sloatman Aff. at ¶ 5. Plaintiff also has no reason to ever




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have filled out such a form, as she matriculated from college in 2000 and has had no interest in

further education since she graduated from college. Id. at ¶ 6. Therefore, Plaintiff has more than

adequately put forth evidence that support her claims.

          A. Defendant’s Evidence Is Both Inadmissible and Woefully Deficient

          Defendant spins a tale of prior express consent but fails to provide any actual evidence in

support of the positions it is staking out. 3 Defendant asserts that “Plaintiff visited the website” and

“provided her name, address, and mobile telephone number” and then “submitt[ed] her personal

information and her consent to be called . . . .” Motion for Sanctions at p. 1. In support of this

position, Defendant cites to the Declaration of David Butler Ex. A.

          Apparently, David Butler is the co-founder of Defendant. Declaration of David Butler

(“Butler Decl.”), Dkt. 15-2, at ¶ 2. As more fully laid out in Plaintiff’s Objections to the

Declaration of David Butler, Mr. Butler has no personal knowledge of Lala Sloatman and has not

even described how the documents attached as Exhibit A & B to his declaration were accessed or

authenticated. Mr. Butler does not claim to have any foundation for any knowledge of Ms.

Sloatman besides generically stating that he has “personal knowledge of the facts stated herein.”

Id. at ¶ 1. Exhibit A is a copy of an Opt-In Screen containing Ms. Sloatman’s information. Id. at

Ex. A. Exhibit B is a copy of the entry of a database containing Ms. Sloatman’s information. Id.

at Ex. B. Neither Exhibit supports Defendant’s proposition that Plaintiff visited, provided, and

submitted her information to Defendant. Instead, the Exhibits only support that Defendant

obtained Plaintiff’s information through the form and maintained it, not the identity of the

submitter of it. 4 By contrast, Plaintiff has submitted explicit evidence in the form of her written


3
    Defendant has not deposed Plaintiff in this matter yet.
4
  Plaintiff believes that Defendant manufactured the consent of her and Class members, but is
still conducting discovery on the issue rather than file a Rule 11 to strike Defendant’s Answer.


                                                   4
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testimony that she did not visit, provide, or submit her information to Defendant. 5 Wheeler Decl.

at Ex. A ¶¶ 1-3, Sloatman Aff. at ¶¶ 5-6.

       David Butler was also not identified in response to Plaintiff’s Interrogatory No. 1

requesting Defendant identify all persons known to Defendant with personal knowledge of any

facts or issues involved in this lawsuit, such that his belated declaration is inappropriate. Wheeler

Decl. Ex. C. at ¶ 1.

IV.    Legal Standard

       Fed. R. Civ. P. 11(b) requires, in part, that “factual contentions have evidentiary support”

and “claims, defenses, and other legal contentions are warranted by existing law or by a

nonfrivolous argument for extending, modifying, or reversing existing law or for establishing new

law.” Rule 11 is governed by the objective reasonableness under the circumstances standard.

Gaiardo v. Ethyl Corp., 835 F.2d 479, 482 (3d Cir.1987). A good faith belief in the substantive

merit of a claim, therefore, does not suffice to withstand a motion for sanctions. Langer v. Monarch

Life Ins. Co., 1992 WL 125081 (3d Cir. June 11, 1992) (citing Gaiardo, 835 F.2d at 482). On the

other hand, “[t]he wisdom of hindsight should be avoided; the attorney’s conduct must be judged

by ‘what was reasonable to believe at the time the pleading, motion or other paper was submitted.

Id. (quoting Fed.R.Civ.P. 11 advisory committee note). The rule is not an appropriate vehicle for

resolving legal or factual disputes. StrikeForce Techs., Inc. v. WhiteSky, Inc., 2013 WL 5574643,

at *4 (D.N.J. Oct. 9, 2013).

       While Defendant does not cite the standards of a Motion to Strike nor classify its Motion

as a Motion to Strike, it seeks the remedy of striking portions of Plaintiff’s complaint and thus the

Fed. R. Civ. P. 12(f) standard would apply. Federal Rule of Civil Procedure 12(f) provides that


5
 Defendant was also in possession of Ex. A prior to deciding to file this Motion and claim there
was no evidence.


                                                 5
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 upon a motion made by a party, “the court may order stricken from any pleading any insufficient

 defense or any redundant, immaterial, impertinent, or scandalous matter.” Fed. R. Civ. P. 12(f). A

 party must bring a Rule 12(f) motion “either before responding to the pleading or, if a response is

 not allowed, within 20 days after being served with the pleading.” Fed.R.Civ.P. 12(f)(2). “The

 purpose of a motion to strike is to simplify the pleadings and save time and expense by excising

 from a plaintiff’s complaint any redundant, immaterial, impertinent, or scandalous matter which

 will not have any possible bearing on the outcome of the litigation.” Garlanger v. Verbeke, 223

 F.Supp.2d 596 (D.N.J.2002) (quoting Bristol–Myers Squibb Co. v. Ivax Corp., 77 F.Supp.2d 606,

 619 (D.N.J.2000)). Furthermore, “[b]ecause of the drastic nature of the remedy ... motions to strike

 are usually ‘viewed with disfavor’ and will generally ‘be denied unless the allegations have no

 possible relation to the controversy and may cause prejudice to one of the parties, or if the

 allegations confuse the issues.’ Id. (quoting Tonka Corp. v. Rose Art Industries, Inc., 836 F.Supp.

 200, 217 (D.N.J.1993)).

 V.     Legal Argument

        A. Defendant’s Striking Of Plaintiff’s Factual Allegations Should Be Denied

            1. Rule 11 Is Not An Appropriate Mechanism And Defendant’s Motion Is
               Premature

        Defendant asserts that there is no factual basis for Plaintiff’s claims contrary to Plaintiff’s

 pleadings and discovery responses. Rule 11 is not an appropriate vehicle for resolving legal or

 factual disputes. StrikeForce Techs., Inc. v. WhiteSky, Inc., 2013 WL 5574643, at *4 (D.N.J. Oct.

 9, 2013). The more appropriate vehicle would be in a motion for sanctions after a ruling on a

 Motion for Summary Judgment, and thus, the use of Rule 11 is premature. Blattman v. Siebel,

 2017 WL 3129134, at *2 (D. Del. July 24, 2017) (citing Marlowe Patent Holdings v. Ford Motor

 Co., 2013 WL 6383122, at *5 (D.N.J. Dec. 5, 2013) (stating that “[a] Rule 11 motion for sanctions



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 is not an appropriate substitute for summary judgment proceedings, and should not be used to raise

 issues of legal sufficiency that more properly can be disposed of by ... a motion for summary

 judgment.”); Thorner v. Sony Comput. Entm’t Am. Inc., 2010 WL 904797, at *2 (D.N.J. Mar. 9,

 2010) (denying defendants’ motion for sanctions as premature when it “came before any

 dispositive motion or final judgment in favor of ... defendants”)). The Court has drawn no

 conclusions of fact in this case and would be required to do so in order to grant Defendant’s

 Motion. The Court cannot do so in the context of a Rule 11 Motion, and thus Defendant’s Motion

 must be denied.

            2. Plaintiff Has Put Forth Evidence That She Did Not Provide Prior Express
               Consent, and Defendant Has Failed To Put Forth Conclusive Evidence That
               She Has Not

        Plaintiff has provided more than sufficient evidence to survive a Motion for Summary

 Judgment, let alone the lowest bar of “evidentiary support” needed under Fed. R. Civ. P. 11.

 Turning briefly to the actual “merits,” Defendant has failed to put forth sufficient evidence of its

 own position without even turning to Plaintiff’s evidence. Defendant has asserted that it is clear

 that Plaintiff visited, provided, and submitted her information to Defendant and thus created prior

 express consent but has failed to provide evidence demonstrating this. But Defendant’s declarant

 has put forth no foundation or basis for him to demonstrate evidence that Plaintiff Lala Sloatman

 visited, provided, or submitted her information. At best, Defendant has put forth evidence that it

 somehow obtained Plaintiff Sloatman’s information through a form and used that to call her. At

 worst, the deficiencies in Defendant’s declaration are so objectionable as to make it as if Defendant

 had submitted no evidence at all.

        By contrast, Plaintiff has been consistent in her pleadings and evidentiary position.

 Plaintiff pled that she did not provide her prior express consent to Defendant at any relevant time.




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 Complaint, Dkt. 1 at ¶ 13. Plaintiff confirmed in her sworn Interrogatory responses that she had

 no recollection of ever providing information to CompareTopSchools.com or any educational

 opportunities website. Wheeler Decl. Ex. A at ¶¶ 1-3. Plaintiff further reaffirmed in a sworn

 affidavit that not only did she never visit, provide, or submit her information to Defendant, but that

 she would have had absolutely no reason to as she has no interest in further education. Sloatman

 Aff. at ¶¶ 4-6. Besides somehow having obtained Plaintiff’s contact information, Defendant has

 no provided no evidence to refute Plaintiff’s assertions. At the very least, Plaintiff has created a

 controverted issue of fact that requires resolution by a jury which would make a Motion for

 Summary Judgment by Defendant unsuccessful, if filed based on the same evidence put forth in

 its Rule 11 Motion. Plaintiff has more than adequately demonstrated that “evidentiary support”

 exists for her factual allegations, and Defendant’s Rule 11 must be denied.

        B. Defendant’s Striking Of Plaintiff’s Class Allegations Should Be Denied

            1. Defendant’s Motion Is Both Untimely and Premature

        In its Motion, Defendant seeks a legal ruling by the Court that the Class is uncertifiable in

 the context of Rule 11 and for the Court to strike Plaintiff’s Class Allegations. It bears repeating

 that Rule 11 is not an appropriate vehicle for resolving legal or factual disputes. StrikeForce

 Techs., Inc. v. WhiteSky, Inc., 2013 WL 5574643, at *4 (D.N.J. Oct. 9, 2013). The more

 appropriate vehicle would be in a motion for sanctions after a ruling on a Motion for Summary

 Judgment, and thus, the use of Rule 11 is premature. Blattman v. Siebel, 2017 WL 3129134, at *2

 (D. Del. July 24, 2017) (citing Marlowe Patent Holdings v. Ford Motor Co., 2013 WL 6383122,

 at *5 (D.N.J. Dec. 5, 2013) (stating that “[a] Rule 11 motion for sanctions is not an appropriate

 substitute for summary judgment proceedings, and should not be used to raise issues of legal

 sufficiency that more properly can be disposed of by ... a motion for summary judgment.”);




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 Thorner v. Sony Comput. Entm’t Am. Inc., 2010 WL 904797, at *2 (D.N.J. Mar. 9, 2010) (denying

 defendants’ motion for sanctions as premature when it “came before any dispositive motion or

 final judgment in favor of ... defendants”)). For that reason alone, Defendant’s Motion should be

 denied as there is no procedural basis for it to request the Court make a legal ruling on the

 certifiability of the Class in the context of this Motion.

        In the alternative, if Defendant is seeking to strike the allegations under Fed. R. Civ. P.

 12(f) as it appears to attempt to, Defendant is both untimely and premature. Because Defendant

 filed an answer on December 27, 2017, it cannot now file a Motion to Strike pursuant to Fed. R.

 Civ. P. 12(f)(2). Even if Defendant could file a Motion to Strike, dismissal of class claims prior

 to discovery and a motion to certify the class by plaintiff is the exception rather than the rule.

 Luppino v. Mercedes-Benz USA, LLC, 2013 WL 6047556, at *7 (D.N.J. Nov. 12, 2013) (citing

 Ehrhart v. Synthes (USA), 2007 U.S. Dist. LEXIS 94760, *7–9 (D.N.J. Dec. 21, 2007) (motion to

 strike highly disfavored and dismissal of class allegations should be done rarely); Gutierrez v.

 Johnson & Johnson, Inc., 2002 WL 34210806 (D.N.J.2002) (dismissal of class allegations at this

 stage should be done rarely; the better course is to deny the motion because “the shape and form

 of a class action evolves only through the process of discovery.”)). See also Andrews v. Home

 Depot U.S.A. Inc., 2005 WL 1490474, at *3 (D.N.J. June, 23, 2005) (finding that dismissal of class

 action allegations to be premature at the motion to dismiss stage). Every case cited by Defendant

 in support of its argument is an Order on a Motion for Class Certification, such that it is not clear

 any law exists that supports either moving to strike Class Allegations in the context of a Rule 11

 or even a Motion to Strike. 6




 6
  Plaintiff’s counsel was unable to find any case law supporting any aspect of Defendant’s
 Motion, whether it be striking Class Allegations or otherwise.


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           The one exemption is that “[D]efendant may move to strike class action allegations prior

 to discovery in rare cases “where the complaint itself demonstrates that the requirements for

 maintaining a class action cannot be met.” Luppino v. Mercedes-Benz USA, LLC, 2013 WL

 6047556, at *3 (D.N.J. Nov. 12, 2013) (citing Landsman & Funk PC v. Skinder–Strauss

 Associates, 640 F.3d 72, 93 n. 30 (3d Cir.2011)). But, Defendant has based its argument that the

 Class is uncertifiable on evidence not included in the Complaint, Defendant has demonstrated this

 is clearly not one of those “rare cases.” 7 Defendant will have its day in Court to present its

 arguments against Class Certification at the appropriate time—in its opposition to the Motion for

 Class Certification. Defendant’s attempt to make that day today with absolutely no basis for

 attempting to do so is unappreciated, and its Motion must be denied.

              2. This Case Is Certifiable

           While Plaintiff will save most of her arguments for her Motion for Class Certification,

 Plaintiff will briefly address Defendant’s assertion that this matter is uncertifiable. Class actions

 brought under the TCPA are particularly appropriate for class certification. See A&L Industries

 Inc. v. P. Cipollini Inc., Case No. 2:12-cv-07598 (D.N.J. Oct. 6, 2013); Town & Country v.

 Meadowbrook Insurance Group, Case N. 3:15-cv-02519-PGS-LHG (D.N.J. June 21, 2017). This

 is because when a company places calls to consumers, it tends to do so in a uniform way to a large

 population.

           In this matter, Defendant asserts that all of its calls were placed after obtaining leads

 containing Plaintiff and all putative Class Members’ information and thus had prior express

 consent. At this point, Plaintiff theorizes that these leads were not actually properly obtained by




 7
     Defendant cites to Butler Decl. Ex. D.


                                                  10
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 individuals providing their consent but through some other dubious means, as appears to be the

 case with Plaintiff as detailed above—but is continuing to conduct discovery into it.

        By Defendant’s own admission, there is typicality, commonality, and predominance in its

 practice of dialing individuals based on these leads. See Butler Decl. at ¶ 4. To the extent there is

 an issue as to whether Defendant adequately obtained prior express consent sufficient to assert that

 affirmative defense, there is no question that the issue of consent under the TCPA can and should

 be litigated on a class-wide basis. See Landsman & Funk PC v. Skinder-Strauss Assocs., 640 F.3d

 72, 94 (3d Cir. 2011) (criticizing the assertion in a district court opinion that individual issues

 regarding consent could defeat class certification where TCPA was broadcast as a uniformly-

 worded written fax to a mailing list compiled by defendant). There is clearly law which supports

 the argument that this matter should be certified as a Class. But, Plaintiff does not ask the

 Honorable Court to make such a decision today and will reserve those arguments for the

 appropriate time.

        C. Defendant and its Counsel Mark M. Tallmadge Should Be Sanctioned Pursuant
           to Fed. R. Civ. P. 11(c)(2)

        Fed. R. Civ. P. 11(c)(2) provides that “the court may award to the prevailing party the

 reasonable expenses, including attorney’s fees, incurred for the motion.” (emphasis added).

 Plaintiff respectfully submits that it should prevail on Defendant’s Rule 11 Motion because it lacks

 any basis for filing in fact or law for the reasons described above. Further, this Circuit has

 explicitly stated that the imposition of such sanctions is appropriate. “The use of Rule 11 as an

 additional tactic of intimidation and harassment has become part of the so-called ‘hardball’

 litigation techniques espoused by some firms and their clients. Those practitioners are cautioned

 that they invite retribution from courts which are far from enchanted with such abusive conduct.

 A court may impose sanctions on its own initiative when the Rule is invoked for an improper



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 purpose.” Gaiardo v. Ethyl Corp., 835 F.2d 479, 485 (3d Cir. 1987) (citing Lieb v. Topstone

 Indus., Inc., 788 F.2d 151, 157 (3d Cir.1986)) (footnotes removed). Defendant was in possession

 of Plaintiff’s discovery responses which included evidence that Plaintiff had never consented to

 the calls and had no evidence with which to directly impugn Plaintiff Sloatman, and yet chose to

 file this procedurally improper and baseless motion anyway. Defendant’s attorney Mark M.

 Tallmadge himself acknowledged on a call with Magistrate Judge Cathy L. Waldor that choosing

 to file its Rule 11 prior to the Motion for Class Certification was a strategic decision by Defendant

 and its counsel. Wheeler Decl. at ¶ 8. Such “hardball” litigation techniques are frowned upon and

 explicitly discouraged in this district, and awarding Plaintiff her attorney’s fees and costs in

 opposing this baseless Motion would be an appropriate sanction to discourage further such action

 by Defendant and its counsel.

 VI.    Conclusion

        There is no basis in law, fact, or procedure for Defendant to have filed this Motion.

 Defendant’s Motion should be denied. Defendant and its counsel should be sanctioned.



 Dated: June 4, 2018                                   DeNITTIS OSEFCHEN PRINCE, P.C.

                                                       By: s/ Ross H. Schmierer
                                                       Ross H. Schmierer, Esq.
                                                       Attorney for Plaintiff




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